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                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,               )
 8                                            )     CR-11-067-RHW-2
                       Plaintiff,             )
 9                                            )     ORDER GRANTING DEFENDANT’S
      v.                                      )     UNOPPOSED MOTION TO MODIFY
10                                            )     ORDER SETTING CONDITIONS OF
      PATRICK DAVID BOZARTH,                  )     RELEASE
11                                            )
                       Defendant.             )
12                                            )

13         As agreed by the parties, IT IS ORDERED that:

14         The Defendant’s Motion to Modify Conditions of Release (ECF No.

15   55) is hereby GRANTED.      The Defendant shall be allowed to travel to

16   Idaho for employment purposes.           All other conditions of release

17   previously entered shall remain in full effect.

18         DATED August 5, 2011.

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20                              S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
